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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                           )
                                                   )     8:05CR406
                      Plaintiff,                   )
                                                   )
       vs.                                         )     DETENTION ORDER
                                                   )
LUISANA MIRANDA,                                   )
                                                   )
                  Defendant.                       )

A. Order For Detention
   After the defendant waived a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail
   Reform Act on November 22, 2005, the Court orders the above-named defendant
   detained pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
    X    By a preponderance of the evidence that no condition or combination of conditions
         will reasonably assure the appearance of the defendant as required.
    X    By clear and convincing evidence that no condition or combination of conditions
         will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and that
   which was contained in the Pretrial Services Report, and includes the following:
     X   (1) Nature and circumstances of the offense charged:
           X      (a) The crime: the possession with intent to distribute in excess of 5
                      kilograms of cocaine in violation of 21 U.S.C. § 841(a)(1) carries a
                      minimum sentence of ten years imprisonment and a maximum of life
                      imprisonment.
                  (b) The offense is a crime of violence.
                  (c) The offense involves a narcotic drug.
                  (d) The offense involves a large amount of controlled substances, to wit:

             (2) The weight of the evidence against the defendant is high.
     X       (3) The history and characteristics of the defendant including:
                   (a) General Factors:
                             The defendant appears to have a mental condition which may
                             affect whether the defendant will appear.
                             The defendant has no family ties in the area.
                         X The defendant has no steady employment.
                         X The defendant has no substantial financial resources.
                         X The defendant is not a long time resident of the community.
                         X The defendant does not have any significant community ties.
                             Past conduct of the defendant:
                         X The defendant has a history relating to drug abuse.
                             The defendant has a history relating to alcohol abuse.
                             The defendant has a significant prior criminal record.
                             The defendant has a prior record of failure to appear at court
                             proceedings.
                   (b) At the time of the current arrest, the defendant was on:
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                            Probation
                            Parole
                            Release pending trial, sentence, appeal or completion of
                            sentence.
                 (c) Other Factors:
                        X The defendant is an illegal alien and is subject to deportation.
                            The defendant is a legal alien and will be subject to deportation
                            if convicted.
                        X       The Bureau of Immigration and Custom Enforcement (BICE)
                                has placed a detainer with the U.S. Marshal.
                            Other:
     X     (4) The nature and seriousness of the danger posed by the defendant’s release
               are as follows: The nature of the charges in the Indictment. The defendant has
               an outstanding arrest warrant in Maricopa County, Arizona, for a drug charge
               and a detainer has been placed with the U.S. Marshal. ICE has placed a
               detainer with the U.S. Marshal for the deportation of the defendant.

     X     (5) Rebuttable Presumptions
               In determining that the defendant should be detained, the Court also relied on
               the following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e)
               which the Court finds the defendant has not rebutted:
             X    (a) That no condition or combination of conditions will reasonably assure
                       the appearance of the defendant as required and the safety of any
                       other person and the community because the Court finds that the crime
                       involves:
                             (1) A crime of violence; or
                         X (2) An offense for which the maximum penalty is life
                                 imprisonment or death; or
                         X (3) A controlled substance violation which has a maximum
                                 penalty of 10 years or more; or
                             (4) A felony after the defendant had been convicted of two or
                                 more prior offenses described in (1) through (3) above, and
                                 the defendant has a prior conviction for one of the crimes
                                 mentioned in (1) through (3) above which is less than five
                                 years old and which was committed while the defendant was
                                 on pretrial release.
             X    (b) That no condition or combination of conditions will reasonably assure
                       the appearance of the defendant as required and the safety of the
                       community because the Court finds that there is probable cause to
                       believe:
                         X (1) That the defendant has committed a controlled substance
                                 violation which has a maximum penalty of 10 years or more.
                             (2) That the defendant has committed an offense under 18
                                 U.S.C. § 924(c) (uses or carries a firearm during and in
                                 relation to any crime of violence, including a crime of
                                 violence, which provides for an enhanced punishment if
                                 committed by the use of a deadly or dangerous weapon or
                                 device).

D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable from
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              persons awaiting or serving sentences or being held in custody pending
              appeal; and
         2.   The defendant be afforded reasonable opportunity for private consultation
              with counsel; and
         3.   That, on order of a court of the United States, or on request of an attorney for
              the government, the person in charge of the corrections facility in which the
              defendant is confined deliver the defendant to a United States Marshal for the
              purpose of an appearance in connection with a court proceeding.

DATED:   November 28, 2005.                    BY THE COURT:
                                               s/Thomas D. Thalken
                                               United States Magistrate Judge
